            Case 1:20-cv-07046-ER Document 58 Filed 12/29/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                        ORDER
TOWAKI KOMATSU,
                                                             20-CV-7046 (ER) (LEAD CASE)
                                  Plaintiff,                 20-CV-7502 (ER)
                                                             20-CV-8004 (ER)
                    – against –                              20-CV-8251 (ER)
                                                             20-CV-8540 (ER)
THE CITY OF NEW YORK, et al.,                                20-CV-8933 (ER)
                                                             20-CV-9151 (ER)
                                                             20-CV-9154 (ER)
                                  Defendants.                20-CV-9354 (ER)


Ramos, D.J.:

         The Court is in receipt of Plaintiff’s letter dated December 19, 2020 seeking leave to file

a motion for reconsideration of the Court’s November 2, 2020 service order in member case 20-

cv-08004. Motions for reconsideration must be filed within 14 days of the order for which

reconsideration is sought. See S.D.N.Y. Local Rule 6.3. Komatsu’s request for leave to file a

motion for reconsideration is therefore DENIED.

         The clerk of court is respectfully directed to mail a copy of this Order to Plaintiff and

note service on the docket.



It is SO ORDERED.

Dated:     December 29, 2020
           New York, New York

                                                               EDGARDO RAMOS
                                                             United States District Judge
